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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

ROBERT VALENZUELA,

       Plaintiff,

v.                                                       Case No: 8:19-cv-2181-T-30CPT

AXIOM ACQUISITION VENTURES,
LLC,

       Defendant.


                                        ORDER

       THIS CAUSE comes before the Court on Defendant Axiom Acquisition Ventures,

LLC's Motion for Summary Judgment (Doc. 14). Axiom argues the letter it sent Plaintiff

Robert Valenzuela was not a communication in connection with collection of a debt.

Valenzuela argues, in part, that Axiom’s motion is premature because he has not had a

chance to complete the discovery he needs, specifically taking the deposition of Axiom’s

corporate representative. (Doc. 18).

       Although it appears the only issue raised in the summary judgment motion is a

purely legal question, in an abundance of caution the Court will give Valenzuela sixty (60)

days to conduct whatever discovery he deems necessary. After that time, Axiom may refile

its summary judgment motion, if appropriate.

       Accordingly, it is ORDERED AND ADJUDGED that:

       1.     Defendant Axiom Acquisition Ventures, LLC's Motion for Summary

              Judgment (Doc. 14) is DENIED WITHOUT PREJUDICE.
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      2.     Defendant Axiom Acquisition Ventures, LLC shall make its corporate

             representative available for deposition in this matter within sixty (60) days.

      3.     Defendant Axiom Acquisition Ventures, LLC may refile its motion after

             sixty (60) days have passed from the date of this Order.

      DONE and ORDERED in Tampa, Florida, this 6th day of March, 2020.




Copies furnished to:
Counsel/Parties of Record




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